              Case 22-11068-JTD       Doc 255   Filed 12/19/22   Page 1 of 1




               IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE DISTRICT OF DELAWARE

In re:                            )       Chapter 11
                                  )       Case No. 22-11068 (JTD)
FTX TRADING LTD., et al.,         )       (Joint Administration Pending)
                                  )
         Debtors.                 )

    ORDER GRANTING CERTAIN MEDIA PARTIES’ EXPEDITED
     MOTION TO INTERVENE FOR THE LIMITED PURPOSE OF
 PRESENTING AN OBJECTION TO DEBTORS’ MOTION FOR ENTRY
 OF A FINAL ORDER AUTHORIZING THE DEBTORS TO REDACT OR
       WITHHOLD CERTAIN CONFIDENTIAL INFORMATION
 OF CUSTOMERS AND PERSONAL INFORMATION OF INDIVIDUALS

          On this 19th day of December, 2022, after a hearing at which there was no

objection to the Expedited Motion To Intervene For The Limited Purpose Of

Presenting An Objection To Debtors’ Motion For Entry Of A Final Order

Authorizing The Debtors To Redact Or Withhold Certain Confidential Information

Of Customers And Personal Information Of Individuals (D.I. 45),

         IT IS HEREBY ORDERED that the Motion to Intervene of Bloomberg, Inc.,

Dow Jones & Company, New York Times, Inc. and The Financial Times Ltd.

(collectively, the “Media Intervenors”) is GRANTED. The Media Intervenors are

permitted to intervene for the limited purpose of presenting an objection to Debtors’

motion for entry of a final order authorizing the debtors to redact or withhold certain

confidential information of customers and personal information of individuals.



 Dated: December 19th, 2022
 Wilmington, Delaware                             JOHN T. DORSEY
                                                  UNITED STATES BANKRUPTCY JUDGE
